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J.R. Simplot Company


                            UNITED STATES DISTRICT COURT

                                       DISTRICT OF IDAHO


J.R. SIMPLOT COMPANY,
                                                  Case No. 1:16-cv-449
                          Plaintiff,
                                                  COMPLAINT FOR PATENT
v.                                                INFRINGEMENT, TRADE DRESS
                                                  INFRINGEMENT, AND UNFAIR
MCCAIN FOODS USA, INC.                            COMPETITION

                          Defendant.              JURY TRIAL DEMANDED


       Plaintiff J.R. Simplot Company (“Simplot”), by way of complaint against Defendant

McCain Foods USA, Inc. (“Defendant” or “McCain”), hereby alleges and avers as follows:




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                                  NATURE OF THE ACTION

       1.       In 1929, J.R. “Jack” Simplot started the company that now bears his name in

Declo, Idaho. Mr. Simplot grew the company from a one-man farming operation into one of the

world’s largest and most successful privately owned, family-run food and agribusiness

companies. Today, with its innovative spirit and more than 80 years of experience, Simplot is

one of the most established and respected companies in the food and agribusiness industry in the

United States and abroad.

       2.       Simplot’s unprecedented growth and success is linked to its proud history of

innovation. On the eve of World War II, and in an effort to help the U.S. Army, the company

invented a method for dehydrating potatoes. In September 1941, just three months before the

attack on Pearl Harbor, Mr. Simplot opened the world’s largest potato drying plant in Caldwell,

Idaho. Within a year, the company was the largest producer of dehydrated potatoes and onions

in the United States, serving a critical civilian role supplying food to members of our nation’s

Armed Forces. Simplot continued to innovate after the War and helped shape the modern day

agribusiness industry. The company revolutionized the foodservice industry more than 60 years

ago with one of its most famous inventions: the world’s first commercially viable frozen french

fry.

       3.       Innovation remains part of the fabric of Simplot’s entrepreneurial culture today,

and Simplot invests heavily in protecting its intellectual property. The United States Patent and

Trademark Office has awarded Simplot dozens of patents for its innovations in the food industry.

Simplot relies on the protections of our patent system to protect these inventions and to

incentivize investment in new technologies. In addition to patents, Simplot has other valuable

intellectual property including trade secrets, trademarks, and trade dress.



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         4.       Today, Simplot’s inventions and product offerings in the food industry include

frozen and shelf-stable potatoes, vegetables, fruits, grains, and avocados. But Simplot remains

particularly well known for its potato and french fry products. Simplot french fries and potato

products can be found in restaurants, supermarkets, and schools throughout the globe. Simplot

remains one of the nation’s largest suppliers of french fries and hash browns, supplying hundreds

of customers in the foodservice and retail markets. These products are produced at several

facilities across the United States, including at Simplot’s Caldwell, Idaho plant. Simplot’s

Caldwell plant is one of the largest food processing and packaging facilities in North America. It

includes state-of-the-art equipment used in a variety of scientific disciplines including robotics,

optics, fluid dynamics, organic chemistry, and microbiology.

         5.       In 2013, Simplot introduced the public to its SIDEWINDERS™ branded “twist”

potato fries (“SIDEWINDERS™”).             With their unique and distinctive “twist” design,

SIDEWINDERS™ were an overnight success.                  Sold in all 50 states and abroad,

SIDEWINDERS™ are now one of Simplot’s most well-known and bestselling new brands. In

2014, Simplot reconfigured its production lines and added additional hardware to its Caldwell

production facility to keep up with increasing consumer demand for SIDEWINDERS™.

         6.       As with many of its products, Simplot’s unique SIDEWINDERS™ design is

protected by patents and other forms of intellectual property, including trademark and trade

dress.

         7.       McCain is a direct competitor of Simplot. Indeed, McCain and Simplot are two

of three companies that are the primary competitors in the United States market for french fries

and frozen potatoes. As alleged below, rather than develop its own unique frozen potato design,

McCain copied Simplot’s popular and protected SIDEWINDERS™ design. McCain designed



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its “Twisted Potato” products to look like Simplot’s SIDEWINDERS™ in an attempt to

piggyback off of Simplot’s investment and to ride the coattails of Simplot’s success. Recently,

McCain began advertising, promoting, and offering its copycat Twisted Potato products for sale

in the United States in an effort to unfairly compete against Simplot and cut into Simplot’s 100%

share of the SIDEWINDERS™ market.

       8.       Simplot brings this action to seek damages and injunctive relief arising out of

McCain’s illegal conduct and unfair competition.

                                           PARTIES

       9.       Simplot is a Nevada corporation having a principal place of business at 999 W.

Main Street, Boise, Idaho 83702.

       10.      McCain is a Maine corporation having a corporate office and principal place of

business at 2275 Cabot Drive, Lisle, Illinois 60532. McCain is one of Simplot’s primary

competitors. McCain makes, uses, sells, and offers for sale potato products in the United States

in competition with Simplot. McCain advertises, sells, and offers its potato products for sale in

the United States, including on its website, www.mccainusafoodservice.com.

                                JURISDICTION AND VENUE

       11.      This action arises under the patent laws of the United States, Title 35 of the

United States Code, and under the trademark laws of the United States, Title 15 of the United

States Code. This Court has subject matter jurisdiction under 15 U.S.C. § 1121, 28 U.S.C.

§ 1331, and 28 U.S.C. § 1338(a).

       12.      McCain is subject to this Court’s specific and general personal jurisdiction

pursuant to due process and/or the Idaho Long Arm Statute, due at least to its substantial

business in this forum, including that McCain operates a manufacturing plant in Burley, Idaho



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where it produces potato products for the food industry. In addition, McCain has purposely

availed itself of the privilege of conducting business in this forum, and Simplot’s claims alleged

herein arise out of, or relate to, activities that McCain engaged in in this forum.

       13.     On information and belief, without limitation, within this forum, McCain has

made, used, sold, or offered to sell the accused products described herein. Further, McCain

regularly conducts and solicits business in this forum, engages in other persistent courses of

conduct in this forum, and derives substantial revenue from goods and services provided to

persons or entities in Idaho.

       14.     Venue is proper in this district under 28 U.S.C. §§ 1391(b), 1391(c), and 1400(b).

                          FACTS GIVING RISE TO THIS ACTION

             Development and Success of SIDEWINDERS™ Brand Potato Fries

       15.     Simplot is one of the world’s largest producers of french fries. It provides french

fries and other frozen potato products to thousands of food outlets including, but not limited to,

restaurants, schools, and supermarkets throughout the United States. In addition to traditional

cut, restaurant-style french fries, Simplot’s portfolio of potato products includes a variety of

uniquely designed specialty french fries.

       16.     Among Simplot’s recent innovations are its SIDEWINDERS™ fried potato

products. Simplot invented these products as a novel alternative to the traditionally shaped

french fries that have dominated the market for decades. As shown below in some of Simplot’s

marketing materials, SIDEWINDERS™ are unlike traditional straight-cut fries, lattice-cut fries,

or curly fries and were designed with a new and unique “twist.”




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      17.    Simplot began investing substantial resources to the design and development of

SIDEWINDERS™ years before they were made available to the consuming public in 2013. The

unique shape of SIDEWINDERS™ has been the subject of extensive promotion and

advertisement. SIDEWINDERS™ are prominently featured on Simplot’s website and in various


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brochures and marketing materials. Simplot also routinely advertises SIDEWINDERS™ at trade

shows and industry functions.

       18.    Simplot’s SIDEWINDERS™ have been a commercial success. Simplot has sold

SIDEWINDERS™ in all 50 states and internationally.                 Demand for the unique

SIDEWINDERS™ design continues to increase, and SIDEWINDERS™ are now one of

Simplot’s most popular new brands. Initial demand for SIDEWINDERS™ opened the door for

Simplot to develop unique varieties of the product with various batters and seasonings. Simplot

currently offers four varieties of its SIDEWINDERS™ that have become distinct signature menu

items. Shown below, these include: (1) Bent Arm Ale® Craft Beer Battered SIDEWINDERS™;

(2) SeasonedCrisp® Smokey BBQ SIDEWINDERS™; (3) SeasonedCrisp® JR Buffalos®

SIDEWINDERS™, and; (4) Conquest® SIDEWINDERS™.




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                                 Simplot’s Intellectual Property Rights

           19.     Simplot invests significant resources in protecting the intellectual property

embodied by its products. The United States Patent and Trademark Office has awarded dozens

of patents to Simplot, including patents for various designs of its potato products. Simplot

notifies     the   public   of    its   patent   rights    at   least   by   maintaining   the   website

http://www.simplotfoods.com/patents, which is accessible to the public free of charge. At least

one of these patents—U.S. Patent No. D640,036 titled “Spiral Potato Piece” (“the ’036

Patent”)—covers the ornamental features of                Simplot’s SIDEWINDERS™.          Simplot was

awarded the ’036 Patent in 2011 and owns all right, title, and interest in and to the ’036 Patent.

A copy of the ’036 Patent is attached as Exhibit A.

           20.     The distinctive spiral design of the SIDEWINDERS™ potato products constitutes

Simplot’s trade dress. As a result of its unique design and Simplot’s extensive sales and

promotion of the product, SIDEWINDERS™ became closely associated with Simplot.

Customers now identify Simplot as the source of SIDEWINDERS™ potato products. Simplot

also brands SIDEWINDERS™ with the unique spiral “S” logo:




                   McCain’s Infringement of Simplot’s Patents and Trade Dress
           21.     In approximately June 2016, McCain began promoting and advertising its

Twisted Potato products in the United States.

           22.     McCain’s promotions, advertisements, and offers to sell its Twisted Potatoes

included a coupon, a copy of which is attached as Exhibit B.

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       23.     McCain’s promotions and advertisements for its Twisted Potatoes included videos

on its YouTube channel. Screenshots of these videos captured on June 28, 2016 are attached as

Exhibit C. McCain has since removed these videos from its YouTube channel.

       24.     McCain      has     used      and     continues     to     use     its    website,

www.mccainusafoodservice.com, to promote its Twisted Potato products.             Screenshots of

McCain’s website advertising its Twisted Potatoes and a brochure available on McCain’s

website are attached as Exhibit D. These screenshots were captured on July 21, 2016 from the

following locations: (a) http://www.mccainusafoodservice.com/Product/Detail/mccaintwistedpotatoes,

and (b) http://www.mccainusafoodservice.com/Product/ExportPDF?pID=3803.             McCain has

since removed these materials from its United States website.

       25.     As the following side-by-side comparisons show, McCain copied Simplot’s

patented SIDEWINDERS™ design in developing its Twisted Potato products.
        SIMPLOT’S ’036 PATENT                       MCCAIN TWISTED POTATO FRIES




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       26.     In addition, as the following side-by-side comparisons show, McCain copied

Simplot’s innovative SIDEWINDERS™ design and developed a french fry that is deceptively

and confusingly similar to the design of Simplot’s SIDEWINDERS™. When McCain’s Twisted

Potatoes are placed alongside Simplot’s SIDEWINDERS™, customers are likely to confuse the

products and their sources of origin.

       SIMPLOT SIDEWINDERS™                        MCCAIN TWISTED POTATO FRIES




       27.     Until McCain’s infringement, Simplot was the exclusive provider of potato

products with a twist design to all customers in the United States and abroad, and it owned 100%

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of the worldwide market for such products. McCain’s entry into this market, and its direct and

unfair competition against Simplot, will necessarily and permanently alter the market and

irreparably harm Simplot.

       28.     Simplot therefore seeks damages and injunctive relief against McCain’s

manufacture, use, sale, or offer for sale of the Twisted Potatoes and any other McCain products

or systems that infringe the ’036 Patent or Simplot’s SIDEWINDERS™ trade dress.

                                 FIRST CLAIM FOR RELIEF
                                     Patent Infringement

       29.     Paragraphs 1-28 are incorporated by reference as if set forth here in full.

       30.     McCain has manufactured, used, imported, offered for sale, or sold potato

products, including at least its Twisted Potatoes, that directly or indirectly infringe at least the

claim of the ’036 Patent in violation of 35 U.S.C. § 271.

       31.     McCain’s infringement of the ’036 Patent has been willful and deliberate.

McCain had actual knowledge of the ’036 Patent prior to the filing of this lawsuit, and at least as

early as November 5, 2013.        On that date, McCain submitted an Information Disclosure

Statement to the United States Patent and Trademark Office during prosecution of its own patent

application, US App. No. 29/461,506. On the Information Disclosure Statement, McCain listed

the ’036 Patent and another Simplot patent as prior art to its application.

       32.     McCain’s conduct has caused and will cause great and irreparable harm to

Simplot in an amount which cannot be adequately remedied by money damages, leaving Simplot

with no adequate remedy at law. Therefore, Simplot is entitled to injunctive relief against

McCain, and anyone associated therewith, to restrain further acts of unfair competition and trade

dress infringement.




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       33.     Simplot has suffered economic harm as a result of McCain’s infringing activities

in an amount to be proven at trial.

                              SECOND CLAIM FOR RELIEF
                        Trade Dress Infringement/Unfair Competition

       34.     Paragraphs 1-33 are incorporated by reference as if set forth here in full.

       35.     Based on both its inherently distinctive and nonfunctional shape as well as

Simplot’s extensive advertising, promotion, and sales of SIDEWINDERS™ in the United States,

the consuming public both accepts and recognizes Simplot’s SIDEWIDERS™ design, and it has

become an asset of substantial value as a symbol of Simplot, its innovative products, and its

goodwill.     As a result of Simplot’s efforts, Customers associate the distinctive

SIDEWINDERS™ design with Simplot.

       36.     Accordingly, Simplot has established valid and enforceable trade dress rights in

the SIDEWINDERS™ design, as described above.

       37.     Simplot is the owner of all right and title to the SIDEWINDERS™ trade dress.

       38.     Notwithstanding Simplot’s preexisting valid and enforceable rights in the

SIDEWINDERS™ trade dress, McCain used Simplot’s trade dress without permission or

approval. McCain’s unauthorized use of Simplot’s SIDEWINDERS™ trade dress includes

selling and offering for sale its Twisted Potato product in the United States, including on

McCain’s website. In addition, McCain featured the product shape – Simplot’s unique and

nonfunctional trade dress – prominently on its packaging and website.

       39.     McCain’s Twisted Potato product copies the unique SIDEWINDERS™ design

and incorporates Simplot’s SIDEWINDERS™ trade dress. By using Simplot’s trade dress

without Simplot’s permission, McCain is unfairly benefiting from Simplot’s investment in the




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SIDEWINDERS™ trade dress and the reputation, success, and goodwill that Simplot has

cultivated through its marketing and promotion of its SIDEWINDERS™ products.

       40.     McCain’s unauthorized use of Simplot’s SIDEWINDERS™ trade dress in

connection with advertising and offering its Twisted Potato product for sale is likely to cause

consumer confusion and mistake, and to deceive consumers as to the source, origin, or affiliation

of McCain’s products and services.

       41.     McCain’s actions constitute unfair competition and false designation of origin in

violation of Section 43(a) of the Lanham Act, 15 U.S.C. § 1125(a).

       42.     McCain’s conduct has caused and will cause great and irreparable harm to

Simplot in an amount which cannot be adequately remedied by money damages, leaving Simplot

with no adequate remedy at law. Therefore, Simplot is entitled to injunctive relief against

McCain, and anyone associated therewith, to restrain further acts of unfair competition and trade

dress infringement.

       43.     Simplot is informed and believes, and on that basis alleges, that McCain knew of

Simplot’s trade dress when it designed its Twisted Potato product. Accordingly, McCain’s

infringement has been and continues to be intentional and willful.

                                DEMAND FOR JURY TRIAL

       Simplot hereby demands a trial by jury on all issues so triable pursuant to Federal Rule of

Civil Procedure 38.

                                     PRAYER FOR RELIEF

       WHEREFORE, Simplot prays for entry of judgment against McCain, as follows:

       1.      That judgment be entered in favor of Simplot on all claims for relief raised in the

Complaint;



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       2.      That judgment be entered that the ’036 Patent is valid and enforceable and that

McCain has infringed, directly, jointly, and/or indirectly, by way of inducing and/or contributing

to the infringement of the ’036 Patent;

       3.      That judgment be entered awarding Simplot all damages adequate to compensate

for McCain’s infringement of the ’036 Patent, and in no event less than a reasonable royalty for

McCain’s acts of infringement, including all pre-judgment and post-judgment interest at the

maximum rate permitted by law;

       4.      That judgment be entered that McCain’s infringement is and/or has been willful

and the award of damages to Simplot be increased up to three times in view of McCain’s willful

infringement as provided under 35 U.S.C. § 284;

       5.      That a preliminary and permanent injunction be entered enjoining McCain, and its

officers, directors, agents, servants, affiliates, employees, divisions, branches, subsidiaries,

parents, and all others acting in active concert therewith, from infringing the ’036 Patent or

Simplot’s SIDEWINDERS™ trade dress.

       6.      That judgment and order be entered finding that this is an exceptional case within

the meaning of 35 U.S.C. § 285 and awarding to Simplot its reasonable attorney’s fees;

       7.      That judgment be entered awarding an accounting of McCain’s profits pursuant to

15 U.S.C. § 1117.

       8.      That judgment be entered trebling any damages awarded pursuant to 15 U.S.C. §

1117 and awarding Simplot costs and reasonable attorneys’ fees;

       9.      That judgment be entered awarding restitutionary relief against McCain and in

favor of Simplot, including disgorgement of wrongfully obtained profits and any other

appropriate relief;



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       10.     That judgment and order be entered awarding to Simplot all other relief to which

Simplot may prove itself to be entitled; and

       11.     For such other and further relief as the Court deems just and proper.

       DATED THIS 7th day of October, 2016.

                                               PARSONS BEHLE & LATIMER




                                               By /s/ Dana M. Herberholz
                                                   Dana M. Herberholz
                                                   Christopher Cuneo
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